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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SHMARA PUNCH,                                     §
                                                  §
                                     Plaintiff,   §
                                                  §
v.                                                §    Civil Action No. 3:20-CV-0029-D
                                                  §
CITY OF DESOTO et al.,                            §
                                                  §
                                  Defendants.     §


                                     SCHEDULING ORDER

        Pursuant to Fed. R. Civ. P. 16(b) and 26(f), the court’s Civil Justice Expense and Delay
Reduction Plan (Misc. Order No. 46), and the local civil rules now in effect, and after having
considered any proposals submitted by the parties, the court enters this scheduling order. If a
date specified in this order falls on a Saturday, Sunday, legal holiday, or date on which the
clerk’s office is closed by direction of the court or is otherwise inaccessible, see Rule 6(a)(3), the
deadline is the next day that is not one of the aforementioned days.

       I. ELECTRONIC FILING OPTIONAL/“JUDGE’S COPY” NOT REQUIRED

       Pursuant to N.D. Tex. Civ. R. 5.1(e), the court grants the parties the option of filing
pleadings, motions, or other papers on paper. Filing by electronic means is permitted, not
required.

        The parties are excused from submitting the “judge’s copy” of a pleading, motion, or
other paper required by N.D. Tex. Civ. R. 5.1(b). The court will specifically request a judge’s
copy if one is needed.

                                    II. PRETRIAL SCHEDULE

       The parties must comply with each of the following deadlines unless a deadline is
modified by court order upon a showing of good cause, as required by Rule 16(b).

A.     Joinder of Parties

       A party must file a motion for leave to join other parties no later than August 21, 2020.
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B.      Expert Witnesses

       A party with the burden of proof on a claim or defense must designate expert witnesses
and otherwise comply with Rule 26(a)(2) no later than December 18, 2020.

C.      Rebuttal Expert Witnesses

       A party who intends to offer expert evidence “intended solely to contradict or rebut
evidence on the same subject matter identified by another party under Rule 26(a)(2)(B)” must
designate expert witnesses and otherwise comply with Rule 26(a)(2) no later than January 19,
2021.

D.      Amendment of Pleadings

        A party must file a motion for leave to amend pleadings no later than March 1, 2021.

E.      Completion of Discovery, Filing of Joint Estimate of Trial Length and Status Report

        The parties must complete discovery and file a joint estimate of trial length and joint
status report concerning the progress of settlement negotiations no later than June 4, 2021.

F.      Summary Judgment Motions

        A party must file a motion for summary judgment no later than June 25, 2021.

        The deadline imposed by the local civil rules for filing a motion for summary judgment
does not apply in this case because the court by this order has established a different deadline.
Counsel should review carefully N.D. Tex. Civ. R. 56.2(b), which limits to one the number of
summary judgment motions that a party may file “[u]nless otherwise directed by the presiding
judge, or permitted by law.”

G.      Motions Not Otherwise Covered

        A party must file a motion not otherwise covered by this order no later than June 25,
2021.

        This deadline does not apply to motions in limine or to objections filed pursuant to Rule
26(a)(3), which must be filed no later than the deadlines that will be established by the trial
setting order that the court will issue later.

                                 III. TRIAL SETTING ORDER

       The court will set the case for trial by separate order. The order will establish trial-type
deadlines. It will also contain modifications to the requirements of the local civil rules regarding
such matters as submitting the joint pretrial order, and filing witness lists, exhibit lists, and
deposition excerpt designations.

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                                       IV. TRIAL LIMITS

        Section VII of the court’s Civil Justice Expense and Delay Reduction Plan permits the
presiding judge to “limit the length of trial, the number of witnesses each party may present for
its case, the number of exhibits each party may have admitted into evidence, and the amount of
time each party may have to examine witnesses.” Rule 16(c)(2)(O) permits the court to take
appropriate action to “establis[h] a reasonable limit on the time allowed to present evidence[.]”
Before the trial of this case begins, the court will impose time limits on the presentation of
evidence, and may set other limits permitted by the Plan. In conducting discovery and other
pretrial proceedings in this case, counsel should account for the fact that such limitations will be
imposed.

                      V. RULE 26(a) DISCLOSURES AND DISCOVERY
                             MATERIALS NOT TO BE FILED

        Counsel are reminded that, pursuant to Rule 5(d)(1), disclosures under Rule 26(a)(1) or
(2), and the following discovery requests and responses—depositions, interrogatories, requests
for documents or tangible things or to permit entry onto land, and requests for admission—must
not be filed until they are used in the proceeding or the court orders filing.

                                VI. AVAILABLE HELP DESKS

       Case information can be obtained from the clerk of court by contacting the ECF Help
Desk at (214) 753-2633.

        An attorney, attorney’s staff member, or party proceeding pro se can also obtain answers
to frequently asked questions, or submit case-specific questions to chambers staff, using Judge
Fitzwater’s Chambers Online Help Desk, found at the following Internet address:
http://cf.txnd.uscourts.gov/www2/forms/saf_email.cfm.


       SO ORDERED.

       February 19, 2020.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE




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